                   Case 8-17-70941-reg                 Doc 21         Filed 07/13/19            Entered 07/13/19 22:21:04

 Fill in this information to identify the case:

 Debtor 1              Joanne M. Hamilton
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         Eastern
 United States Bankruptcy Court for the: ______________________              New York
                                                                District of __________
                                                                             (State)
 Case number            17-70941
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

                               US BANK TRUST NA
 Name of creditor: _______________________________________                                                           1
                                                                                         Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                           9788____ ____ ____
                                                         ____                            Must be at least 21 days after date       08   01   2019
                                                                                                                                   ____/____/_____
                                                                                         of this notice


                                                                                         New total payment:                          2931.22
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                             727.58
                   Current escrow payment: $ _______________                           New escrow payment:           793.96
                                                                                                                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
           No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                         New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                              page 1
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Debtor 1         Joanne M. Hamilton
                 _______________________________________________________                                                17-70941
                                                                                                 Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

           I am the creditor.
      X I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û_____________________________________________________________
  /s/ Michelle R. Ghidotti-Gonsalves
     Signature
                                                                                                 Date    07 12 2019
                                                                                                         ____/_____/________




 Print:             Michelle R. Ghidotti-Gonsalves
                    _________________________________________________________                    Title   AUTHORIZED AGENT
                                                                                                         ___________________________
                    First Name                      Middle Name          Last Name



 Company            Ghidotti Berger, LLP
                    _________________________________________________________



 Address            1920 Old Tustin Ave
                    _________________________________________________________
                    Number                 Street

                    Santa Ana, CA 92705
                    ___________________________________________________
                    City                                                 State        ZIP Code



 Contact phone       949
                    (______) _____– 2010
                             427 _________                                                             bknotifications@ghidottiberger.com
                                                                                                 Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                            page 2
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NEW PAYMENT EFFECTIVE 08/01/2019                $2,931.22
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    __________    __________   __________   __________
         $0.00    $10,021.12        $0.00    $9,397.79




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                                          CERTIFICATE OF SERVICE
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